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 UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF NEW JERSEY


DEBORAH MIGDAL,
on behalf of herself and those similarly
situated,

                Plaintiff,
                                              Civil Action No. 2:16-cv-04750
       -v-

PORTFOLIO RECOVERY
ASSOCIATES, LLC

                Defendant.




    DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
   MOTION TO COMPEL ARBITRATION AND DISMISS THIS ACTION




                             Motion Day: June 5, 2017
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                         PRELIMINARY STATEMENT

       The allegations set forth in the class action Complaint filed by Plaintiff

 Deborah Migdal (“Plaintiff”) against Portfolio Recovery Associates, LLC (“PRA”)

 fall squarely within the scope of the arbitration provision to which Plaintiff agreed

 under her Synchrony Bank (“Synchrony”) credit card account (the “Account”), an

 Account on which she subsequently defaulted. PRA, as assignee of the original

 creditor, has demanded arbitration pursuant to the applicable Retail Installment

 Credit Agreement (“Cardmember Agreement”), the terms of which include: (1) an

 arbitration agreement governed by and enforceable under the Federal Arbitration

 Act (“FAA”), 9 U.S.C §§ 1 et seq. that allows either party to the Agreement to

 move for binding arbitration of any claim or dispute arising out of the Agreement;

 and (2) a class action waiver that requires Plaintiff to arbitrate her claims against

 PRA on an individual, non-class basis. Because Plaintiff’s allegations are covered

 by this written arbitration agreement, Plaintiff is required to arbitrate her claims

 brought in this lawsuit against PRA under the FAA.

       Despite the fact that PRA has notified Plaintiff of its intent to elect

 arbitration, and has provided evidence showing that Plaintiff’s Account and her

 allegations fall within the scope of the arbitration agreement, Plaintiff has

 nonetheless refused to arbitrate.     Because this case should proceed only in

 arbitration, PRA requests that the Court dismiss this action and order Plaintiff to


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 arbitrate her claims on an individual, non-class basis pursuant to the Cardmember

 Agreement.

                            FACTUAL BACKGROUND
       On August 4, 2016, Plaintiff filed this putative class action, asserting claims

 against PRA under the Fair Debt Collection Practices Act (“FDCPA”). (Compl.

 passim.) As Plaintiff noted in her Complaint, she opened an Account issued by

 Synchrony with the last four digits 5176. Plaintiff’s last payment on her Account

 occurred on September 18, 2009, and subsequently defaulted on her Account in

 October 2009. (Compl. ¶¶ 25-26.)

       Upon investigation into Plaintiff’s allegations, PRA learned that Plaintiff’s

 Account is governed by the Cardmember Agreement which governs the parties’

 relationship. See Exhibit A as attached hereto. The terms of the Cardmember

 Agreement specifically apply to Plaintiff’s relationship to any subsequent

 assignees of Synchrony, such as PRA, as it states that “[w]e may sell, assign or

 transfer all or any portion of your Account or any balances due under your

 Account without prior notice to [Plaintiff].”         (Exhibit A at pg. 3).       The

 Cardmember Agreement further states that the contractual relationship between the

 parties was to be governed and interpreted “in accordance with the laws of the

 State of Georgia . . . and applicable federal law.” (Id.).




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        The Cardmember Agreement contains a straightforward Arbitration

 Provision, set out in all capital letters, and emphasizing in relevant part that:

        IF ARBITRATION IS CHOSEN BY ANY PARTY WITH RESPECT
        TO A CLAIM, NEITHER YOU NOR WE WILL HAVE THE
        RIGHT TO LITIGATE THAT CLAIM IN COURT OR HAVE A
        JURY TRIAL ON THAT CLAIM, OR TO ENGAGE IN PRE-
        ARBITRATION DISCOVERY EXCEPT AS PROVIDED FOR IN
        THE APPLICABLE ARBITRATION RULES. FURTHER YOU
        WILL NOT HAVE THE RIGHT TO PARTICIPATE AS A
        REPRESENTATIVE OR MEMBER OF ANY CLASS OF
        CLAIMANTS PERTAINING TO ANY CLAIM SUBJECT TO
        ARBITRATION.    EXCEPT AS SET FORTH BELOW, THE
        ARBITRATOR’S DECISION WILL BE FINAL AND BINDING.
        NOTE THAT OTHER RIGHTS THAT YOU WOULD HAVE IF
        YOU WENT TO COURT MAY ALSO NOT BE AVAILABLE IN
        ARBITRATION.

 (Id. at pg. 3).

        By its terms, this provision was: (1) “binding” on the parties; (2) made

 “pursuant to a transaction involving interstate commerce, and shall be governed by

 the Federal Arbitration Act;” and (3) applied to any disputes between Plaintiff and

 Synchrony, as well as any “predecessors, successors, assigns.” (Id.). Either party

 may elect binding arbitration of any claim, dispute, or controversy “arising from or

 relating [Plaintiff’s] Cardmember Agreement (Id.).1 The arbitration provision also

 specifically prohibits the arbitration of class action claims, and provides that

 1
       The term “Claim” is defined to include any “Claims regarding the
 applicability of this Arbitration Agreement or the validity of the entire
 Cardmember Agreement” and “the term Claim is to be given the broadest possible
 meaning.” (Id.).

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 Plaintiff waives her right to act as either a Class Representative or Member. (Id.).2

       On January 23, 2017, PRA provided Plaintiff with notice of its intent to

 arbitrate Plaintiff’s claim on an individual basis as well as a copy of the

 Cardmember Agreement. PRA’s Notice is attached hereto as Exhibit B. PRA

 subsequently informed the Court at a January 25, 2017 Status Conference of its

 intent to invoke the Arbitration Provision. At the request of Plaintiff, and upon

 discussion with Magistrate Judge Dickson, PRA agreed to provide a business

 records affidavit from the original creditor, Synchrony, evidencing that the

 previously produced Cardmember Agreement was applicable to Plaintiff’s

 Account. PRA subsequently provided a business record affidavit from Synchrony

 Bank authenticating the Agreement as applicable to Plaintiff on April 11, 2017.

 See Exhibit C as attached hereto. Notwithstanding receipt of the affidavit and the

 express terms of the Agreement, Plaintiff has not agreed to arbitrate her claims.

 Plaintiff has provided no specific basis for its refusal to honor the terms of the

 Agreement and arbitrate the claims.

       Simply stated, because Plaintiff’s claims arise out of PRA’s alleged attempts

 to collect on Plaintiff’s defaulted Account, they fall squarely within the scope of

 the Arbitration Provision. (Compl. ¶¶ 32, 35-36).

 2
      Plaintiff agreed to all of these terms by making purchases on the Account.
 (Compl. ¶¶ 14-15.). On or about August 27, 2011, Synchrony sold Plaintiff’s
 Account to PRA. (Compl. ¶¶ 14-15.).

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                                   ARGUMENT

 I.    THE FEDERAL ARBITRATION ACT REQUIRES THAT THE
       INSTANT CASE BE DISMISSED AND THAT THE COURT
       COMPEL ARBITRATION OF THIS DISPUTE.

       A.    Standard of Review
       As noted above, the written Arbitration Provision provides that it will be

 governed by the FAA. (Exh. 2 at p. 4.) The FAA represents a “liberal federal

 policy favoring arbitration” and the “fundamental principle that arbitration is a

 matter of contract.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 346 (2011)

 (internal citations omitted). Pursuant to Section 4 of the FAA, “[a] party aggrieved

 by the alleged failure, neglect, or refusal of another to arbitrate under a written

 agreement for arbitration may petition any United States district court which, save

 for such agreement, would have jurisdiction . . . for an order directing that such

 arbitration proceed in the manner provided for in such agreement.” 9 U.S.C. § 4.

       The FAA governs the enforcement, validity, and interpretation of arbitration

 clauses in commercial contracts in both state and federal courts. Concepcion, 563

 U.S. at 344.   Section 2 of the FAA mandates that arbitration agreements in

 contracts “evidencing a transaction involving [interstate] commerce . . . shall be

 valid, irrevocable, and enforceable, save upon such grounds as exist at law or in

 equity for the revocation of any contract.” 9 U.S.C. § 2. An arbitration agreement

 governed by the FAA is presumed to be valid and enforceable. See Shearson/Am.


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 Express v. McMahon, 482 U.S. 220, 226 (1987); Mitsubishi Motors Corp. v. Soler

 Chrysler-Plymouth, Inc., 473 U.S. 614, 626-27 (1985).            Indeed, this strong

 language manifests a “liberal federal policy favoring arbitration agreements.”

 Moses J. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983);

 Schiano v. MBNA, Civil Action No. 05-CV-1771 (JLL), 2005 U.S. Dist. LEXIS

 35606, at *13 (D.N.J. Dec. 19, 2005); Caley v. Gulfstream Aero. Corp., 428 F.3d

 1359, 1367 (11th Cir. 2005).

       The Supreme Court has made clear that the FAA applies to any transaction

 directly or indirectly affecting interstate commerce. Allied-Bruce Terminix Cos. v.

 Dobson, 513 U.S. 265, 277 (1995); Prima Paint Corp. v. Flood & Conklin Mfg.

 Co., 388 U.S. 395, 401 (1967). Under the FAA, “courts must place arbitration

 agreements on an equal footing with other contracts and enforce them according to

 their terms.” Concepcion, 563 U.S. at 339. “The overarching purpose of the FAA,

 evident in the text of §§ 2, 3 and 4, is to ensure the enforcement of arbitration

 agreements according to their terms so as to facilitate streamlined proceedings.” Id.

 at 344; accord Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 53-54

 (1995).

       The enforceability of an arbitration clause is a matter of law for the courts to

 decide. See AT&T Techs. v. Commc’ns Workers of Am., 475 U.S. 643, 649-50

 (1986); Livingston v. Assocs. Finance, Inc., 339 F.3d 553, 558-59 (7th Cir. 2003)


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 (“having found the arbitration agreement enforceable [, a court] must give full

 force to its terms”).     The party resisting arbitration bears the burden of

 demonstrating that the arbitration agreement is invalid or does not encompass the

 claims at issue. Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 92 (2000).

 Courts have long interpreted the FAA with a “healthy regard for the federal policy

 favoring arbitration,” and “any doubts concerning the scope of arbitration issues

 should be resolved in favor of arbitration.” Frankel v. Shearson Lehman Bros.,

 Inc., Civil Action No. 86-2520, 1987 U.S. Dist. LEXIS 16099, at *9 (D.N.J. Oct.

 30, 1987) (quoting Moses, 460 U.S. at 24-25); Walthour v. Chipio Windshield

 Repair, LLC, 745 F.3d 1326, 1331 (11th Cir. 2014). Once a court determines that

 a valid agreement to arbitrate exists and that covers the dispute at issue, the FAA

 “simply requires courts to enforce privately negotiated agreements to arbitrate, like

 other contracts, in accordance with their terms.” Volt Info. Scis, Inc. v. Bd. of Trs.

 of Leland Stanford Junior Univ., 489 U.S. 468, 478 (1989).

       B.     The Arbitration Provision in the Agreement Should Be Enforced
       Under the FAA, a claim is arbitrable when there is (1) a valid arbitration

 agreement, and (2) when the arbitration clause applies to the claim at issue. Noble

 v. Samsung Elecs. Am., Inc., No. 16-1903, 2017 U.S. App. LEXIS 3841, at *5 (3d

 Cir. Mar. 3, 2017). Both of these requirements are easily satisfied here.




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              1.     The FAA and Georgia Law Requires Enforcement of the
                     Arbitration Provision
         By opening the Account and entering into the Agreement with Synchrony

 (incorporated in Delaware), Plaintiff (who resides in Bergen County, New Jersey),

 see Compl. ¶ 4, was a party to a transaction affecting interstate commerce. See

 Ackerberg v. Citicorp USA, Inc., 898 F. Supp. 2d 1172, 1175, 1177 (N.D. Cal.

 2012) (compelling arbitration under the FAA based on arbitration clause contained

 in credit card agreement between citizens of different states). Accordingly, the

 FAA governs, as is reflected in the language of the Arbitration Provision itself.

 Therefore, the Court must give effect to the plain terms of the Arbitration

 Provision, which is presumed to be valid and enforceable. Dean Witter Reynolds,

 Inc. v. Byrd, 470 U.S. 213, 218 (1985) (the FAA “leaves no place for the exercise

 of discretion by a district court, but instead mandates that district courts shall direct

 the parties to proceed to arbitration”) (emphasis in original).

       Furthermore, “[w]hen deciding whether the parties agreed to arbitrate a

 certain matter (including arbitrability), courts generally . . . should apply ordinary

 state-law principles that govern the formation of contracts.” First Options of

 Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995); see Ackerberg, 898 F. Supp. 2d

 1172 (“[t]he validity of an arbitration agreement is determined under ordinary

 principles of state contract law”); Bazemore v. Jefferson Capital Sys., LLC, 827

 F.3d 1325, 1329 (11th Cir. 2016) (same). Here, Georgia law should be applied to

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 determine the enforceability of the Arbitration Provision because Georgia is the

 location which created the underlying obligations at issue in this case. Moreover,

 Arbitration Provision is enforceable under Georgia law.

       To determine which state’s substantive contract law applies, the Court sitting

 in diversity applies the choice of law rules of the forum state. Klaxon Co. v. Stentor

 Elec. Mfg. Co., 313 U.S. 487, 496 (1941); see also Progressive Cas. In. Co. v. C.A.

 Reaseguradora Nacional de Venezuela, 991 F.2d 42, 46 n.6 (conducting choice of

 law analysis to determine which state’s contract defenses apply to arbitration

 agreement under FAA Section 2”). Under New Jersey choice-of-law rules, the

 standard applied in contract claims is the “most significant relationship” test

 enunciated in the Restatement (Second) of Conflict of Laws § 188. Forestal

 Guarani S.A. v. Daros Int’l, Inc., 613 F.3d 395, 401 (3d Cir. 2010); Agostino v.

 Quest Diagnostics Inc., 256 F.R.D. 437, 460 (D.N.J. 2009). Here, the Second

 Restatement points squarely towards the application of Georgia law.3

 3
        Under Section 188 of the Restatement, courts consider: “(1) the place of
 contracting, (2) the place of negotiation of the contract, (3) the place of
 performance, (4) the location of the subject matter of the contract, and (5) the
 domicile, residence, nationality, place of incorporation and place of business of the
 parties.” Restatement (Second) of Conflict of Laws § 188; Forestal, 613 F.3d at
 401. Here, the Agreement explicitly states that “this agreement is entered between
 [Synchrony] and [Plaintiff] in Georgia. We make all decision about granting credit
 to you from, extend credit to you under this agreement from, and accept you
 payments in Georgia.” Accepting the express statements in the Agreement as true,
 the first four of the Restatement §188 factors are fulfilled. Only the last factor
 favors a finding of a law other than Georgia applies. Furthermore, the Agreement
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       Moreover, Georgia law mandates that Plaintiff’s use of the Account bound

 her to the terms of the Agreement. Houston v. Elan Fin. Servs., 135 F. Supp. 3d

 1375, 1380 (S.D. Ga. 2015) (plaintiff’s use of the “credit card thus signified two

 major concessions: (1) that he accepted and agreed to the terms of the [agreement];

 and (2) that he consented to the entry of a formal and binding contract.”); Losapio

 v. Comcast Corp., No. 1:10-CV-3438-RWS, 2011 U.S. Dist. LEXIS 42257, at *9

 (N.D. Ga. Apr. 18, 2011) (“valid contracts, including contracts containing

 arbitration clauses, may be formed by a party's continued use or acceptance of

 services without objection.”) (citing Honig v. Comcast of Ga. I, LLC, 537 F. Supp.

 2d 1277, 1283-84 (N.D. Ga. 2008)). Other courts have found the same. See also

 Ackerberg v. Citicorp USA, Inc., 898 F. Supp. 2d 1172, 1176 (N.D. Cal. 2012)

 (“Numerous courts have found that continued use or failure to opt out of a card

 account after the issuer provides a change in terms, including an arbitration

 agreement, evidences the cardholder’s acceptance of those terms.”) (citations

 omitted); Ellin v. Credit One Bank, No. 15-2694(FLW), 2015 U.S. Dist. LEXIS

 153533, at *6 (D.N.J. Nov. 12, 2015) (“finding that defendant cardholder

 was bound by the arbitration clause in the cardholder agreement because, it has




 contained a choice of law clause providing that the Agreement was “governed by
 and construed in accordance with the laws of the State of Georgia . . . applicable
 federal law.” (Exh. 2 at p. 4.)

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 long been recognized that in such situations, use of a credit card signifies

 acceptance of the terms of the credit agreement”) (citations omitted).

       Here, Plaintiff used the Synchrony credit card and made payments to

 Synchrony for that use. (Exh. 1; Compl. ¶ 15, 24.) In so doing, Plaintiff agreed to

 the terms of the Agreement. See Houston, 135 F. Supp. 3d at 1380. Plaintiff’s

 Account is subject to the Agreement, including its Arbitration Provision.

       Georgia law provides that “FAA preempts any state law that conflicts with

 its provisions or undermines the enforcement of private arbitration agreements.”

 Langfitt v. Jackson, 644 S.E.2d 460, 465 (Ga. Ct. App. 2007). Furthermore,

 Georgia courts have held that arbitration provisions similar to those here are

 enforceable. See Jenkins v. First Am. Cash Advance of Ga., LLC, 400 F.3d 868

 (11th Cir. 2005) (see infra. I.B.3.)       Accordingly, the arbitration clause is

 enforceable under governing Georgia law.

              2.    Plaintiff’s Claims Fall Within the Scope of the Arbitration
                    Provision
       The broad language of the binding Arbitration Provision plainly covers

 Plaintiff’s claims. See AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S.

 643, 650 (1986) (an order to arbitrate “should not be denied unless it may be said

 with positive assurance that the arbitration clause is not susceptible of an

 interpretation that covers the asserted dispute”).      And where, as here, the

 Arbitration Provision is broad, there is a presumption of arbitrability such that

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 ‘“[i]n the absence of any express provision excluding a particular grievance from

 arbitration . . . only the most forceful evidence of a purpose to exclude the claim

 from arbitration can prevail.’” AT&T Techs., 475 U.S. at 650.

       As an initial matter, under the terms of the Agreement, any disputes as to

 whether Plaintiff’s claims fall within the scope of the Arbitration Provision and/or

 whether some defense to arbitration may apply are themselves reserved for

 decision by the arbitrator. (Exh. 2 at p. 4.) In particular, the Arbitration Provision

 states that “‘Claims’ means any claim . . . including the validity, enforceability or

 scope of this Arbitration Provision” are subject to arbitration. (Id.) An agreement

 to arbitrate “gateway” issues of arbitrability is enforceable. See Rent-A-Center,

 West, Inc. v. Jackson, 561 U.S. 63, 69 (2010) (“We have recognized that parties

 can agree to arbitrate ‘gateway’ questions of ‘arbitrability’ . . . .”) (citing Howsam

 v. Dean Witter Reynolds, Inc., 537 U.S. 79, 83-85 (2002)); see also First Options

 of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995) (noting that where evidence

 of intent to arbitrate arbitrability is “clear and unmistakable,” district courts should

 not decide the issue). Thus, because a valid arbitration agreement exists, any

 dispute over the question of whether Plaintiff’s claims against PRA are arbitrable

 is properly determined by the arbitrator.

       More fundamentally, Plaintiff’s claims relate directly to PRA’s conduct in

 trying to recover funds owed under the Agreement. (Compl. passim.) And, the


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 covered “Claims” under the Arbitration Provision include any action relating to the

 use of the Account, including those regarding claims for payment. (Exh 2 at p. 3.)

 Plaintiff’s claims, which challenge PRA’s attempt to collect on Plaintiff’s

 defaulted Account, undoubtedly relate to the Agreement and the relationship

 established by the Agreement. Shapiro v. Baker & Taylor, Inc., No. 07-3153

 (MLC), 2009 U.S. Dist. LEXIS 48187, at *38 (D.N.J. June 9, 2009) (“arising out

 of or relating to language to be indicative of a broad arbitration provision”)

 (citation omitted); Knight v. Docu-Fax, Inc., 838 F. Supp. 1579, 1583 (N.D. Ga.

 1993) (same); Medford v. Lapolla Indus., No. 3:09-CV-061 (CDL), 2009 U.S.

 Dist. LEXIS 67568, at *5 (M.D. Ga. Aug. 3, 2009). Federal courts routinely

 mandate the arbitration of the types of claims at issue in this case with respect to

 similar terms and conditions. See, e.g., Gates v. Northland Grp., Inc., No. 1:16-cv-

 01492-NLH-AMD, 2017 U.S. Dist. LEXIS 23884, at *6 (D.N.J. Feb. 21, 2017)

 (court enforced arbitration provision in FDCPA case); Fedetov v. Peter T. Roach &

 Assocs., No. 03-cv-8823, 2006 U.S. Dist. LEXIS 11422 (S.D.N.Y. Mar. 16, 2006)

 (compelling arbitration of FDCPA class action against debt collector based upon

 arbitration agreement with creditor); Smith v. Steinkamp, No. IP01-1290, 2002

 U.S. Dist. LEXIS 11227 (S.D. Ind. May 22, 2002) (same), aff’d, 318 F.3d 775 (7th

 Cir. 2003). Accordingly, Plaintiff’s claims must be submitted to arbitration.




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              3.      Plaintiff’s Claims Must Be Arbitrated on an Individual Basis
                      Based on the Express Provisions of the Arbitration Provision
       There is a strong federal policy in favor of enforcing all provisions of

 arbitration agreements in accordance with their terms. See Volt Info. Scis., Inc. v.

 Bd. of Trs. of Leland Stanford, Jr. Univ. 489 U.S. 468, 479 (1989). Thus, “parties

 may agree to limit the issues subject to arbitration, to arbitrate according to specific

 rules, and to limit with whom a party will arbitrate its disputes.” See Concepcion,

 563 U.S. at 344 (emphasis in original). “[A] party may not be compelled under the

 FAA to submit to class arbitration unless there is a contractual basis for concluding

 that the party agreed to do so.” Stolt-Nielsen S.A. v. Animalfeeds Int’l Corp., 559

 U.S. 662, 684 (2010) (emphasis in original).           This jurisprudence has been

 reinforced by the Supreme Court. For example, in American Express Co. v. Italian

 Colors Rest., 133 S. Ct. 2304, 2312 (2013), the Court held that a credit card

 agreement with the plaintiff that required the parties to individually arbitrate any

 “class action” claim arising out of card use required that the civil action be

 submitted to binding arbitration.     Id. at 2308-12 (“[T]he FAA’s command to

 enforce arbitration agreements trumps any interest in ensuring the prosecution of

 low-value claims”)

       The class action waiver which is prominently disclosed in capitalized and

 bold type in the Arbitration Provision (Exhibit A at p. 3) is likewise enforceable

 according to its terms. Courts have consistently upheld and enforced similar class

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 action waivers in arbitration agreements. Shubert v. Wells Fargo Auto Fin., Inc.,

 No. 08-3754 (NLH), 2008 U.S. Dist. LEXIS 105198, at *18 (D.N.J. Dec. 31, 2008)

 (finding “that Plaintiff’s class action waiver is valid and enforceable under the

 FAA, even if it is unconscionable under New Jersey law, because New Jersey law

 on this issue is preempted by the FAA.”); Gates, 2017 U.S. Dist. LEXIS 23884 at

 *6 (court enforced class action waiver in FDCPA case). Georgia Courts have

 approved arbitration provisions similar to the Arbitration Provision in this case. In

 Jenkins v. First Am. Cash Advance of Ga., LLC, 400 F.3d 868 (11th Cir. 2005) the

 court held that plaintiff had to comply with an arbitration agreement containing a

 class action waiver and prohibited the defendant’s right to compel arbitration if

 plaintiff filed her complaint in small claims court. 400 F.3d at 872; see also

 Randolph v. Green Tree Fin. Corp., 244 F.3d 814, 815 (11th Cir. 2001) (enforcing

 arbitration clause containing a class action waiver).

       Here, as discussed, above Plaintiff’s valid Arbitration Provision covers her

 claims against PRA.      (See supra Section III.B.2.)    The Arbitration Provision

 expressly precludes any class claims stating, “YOU WILL NOT HAVE THE

 RIGHT TO PARTICIPATE AS A REPRESENTATIVE OR MEMBER OF ANY

 CLASS OF CLAIMANTS PERTAINING TO ANY CLAIM SUBJECT TO

 ARBITRATION.” (Exhibit A at p. 3) (capitalization in original). Because the




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 Arbitration Provision precludes class claims, this Court should compel Plaintiff to

 proceed to arbitration on an individual basis.

       C.     Plaintiff Has Failed, Neglected, or Refused to Arbitrate
       As noted above, PRA sent Plaintiff’s counsel the Arbitration Provision and

 requested that Plaintiff submit her claims to arbitration. Plaintiff, however, refused

 to select an arbitration administrator and has generally refused to submit to

 arbitration. Plaintiff has failed, neglected, or refused to arbitrate her claims against

 PRA as required by the Cardmember Agreement. Thus, PRA respectfully requests

 that the Court compel Plaintiff to arbitrate all purported claims asserted against

 PRA in accordance with and pursuant to the terms of the Arbitration Provision.

       D.     PRA’s Status As An Assignee of Synchrony Permits Enforcement
              of the Arbitration Provision
       PRA’s status as an assignee of Synchrony’s rights under the Agreement does

 not affect the foregoing analysis. The Agreement makes clear, in multiple places,

 that it applies with equal force to any “assignee” of the Plaintiff’s Account, and

 that its unambiguous provisions apply to all affiliated entities and/or agents of the

 assignee. (See Exhibit A at p. 4.) Indeed, the Arbitration Provision provides: “[a]s

 solely used in this Arbitration Provision, the terms “we” and “us” shall for all

 purposes means [Synchrony] and all . . . successors, [and] assigns.”

       In fact, courts nationwide have consistently held that the assignee of a bank

 can compel arbitration as an assignee of debt in response to claims challenging

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 collection practices. See, e.g., Bazemore v. Jefferson Capital Sys., LLC, No. CV

 314-115, 2015 U.S. Dist. LEXIS 61491, at *10 (S.D. Ga. May 11, 2015); Pate v.

 Melvin Williams Manufactured Homes (In re Pate), 198 B.R. 841, 844 (Bankr.

 S.D. Ga. 1996); HT of Highlands Ranch, Inc. v. Hollywood Tanning Sys., 590 F.

 Supp. 2d 677, 684 (D.N.J. 2008); Tickanen v. Harris & Harris, Ltd., 461 F. Supp.

 2d 863, 869-71 (E.D. Wis. 2006); Zambrana v. Pressler & Pressler, LLP, No. 16-

 CV-2907 (VEC), 2016 U.S. Dist. LEXIS 166722, at *14 (S.D.N.Y. Dec. 2, 2016);

 Thompson v. Midland Funding, LLC, 1:10-cv-312, 2011 U.S. Dist. LEXIS 85746,

 at *7 (N.D. Miss. Aug. 3, 2011); Bellows v. Midland Credit Mgmt., No. 09-cv-

 1951, 2011 U.S. Dist. LEXIS 48237, at *9-11 (S.D. Cal. May 4, 2011) Thus, PRA

 is within its rights to also demand arbitration under the Agreement for the claims

 asserted by Plaintiff.

 II.   THE COURT SHOULD DISMISS THIS ACTION OR, IN THE
       ALTERNATIVE, STAY FUTURE PROCEEDINGS
       Courts in the District of New Jersey have observed that the court can dismiss

 a case in favor of arbitration where no party requests a stay of the proceedings and

 all claims are arbitrable. Gates v. Northland Grp., Inc., No. 1:16-cv-01492-NLH-

 AMD, 2017 U.S. Dist. LEXIS 23884, at *7 (D.N.J. Feb. 21, 2017) (citing Lloyd v.

 Hovensa, LLC, 369 F.3d 263, 269 (3d Cir. 2004)). Soucy, 2015 U.S. Dist. LEXIS

 9991, at *17 (citing Johnson, 928 F. Supp. 2d at 1009). Here, all of the Plaintiff’s

 claims are subject to resolution through the Arbitration Provision, and may not be

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 reinstated in court; therefore, the Court’s lacks jurisdiction and staying the action

 would serve no purpose. Accordingly, this Court should dismiss this action when

 it compels arbitration.

       In the event this Court is unwilling to dismiss the instant action, PRA

 requests that the Court stay further proceedings pursuant to the FAA. See 9 U.S.C.

 § 3 (“[T]he court in which such suit is pending, upon being satisfied that the issue

 involved in such suit or proceeding is referable to arbitration under such an

 agreement, shall on application of one of the parties stay the trial of the action until

 such arbitration has been had in accordance with the terms of the agreement . . . .”)

 (emphasis added). In addition to the plain language of the FAA, controlling

 Supreme Court precedent requires courts to grant stays under § 3 of the FAA.

 Moses, 460 U.S. at 26. Because Plaintiff’s claims against PRA are subject to

 arbitration, these proceedings against PRA should be stayed if they are not

 dismissed. See Katchen v. Smith Barney, Inc., Civil Action No. 04-3762 (JLL),

 2005 U.S. Dist. LEXIS 16408, at *18 (D.N.J. Aug. 2, 2005) (adhering to express

 language in the FAA statute requiring a stay).

                                    CONCLUSION

       Plaintiff’s claims against PRA are subject to the Arbitration Provision and

 must be submitted to arbitration on an individual basis.          Because all of the

 requirements to compel arbitration have been satisfied, PRA respectfully requests


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 that the Court compel Plaintiff to arbitrate her claims in the appropriate forum,

 dismiss this action, and grant PRA such other and further relief as this Court deems

 appropriate and just.

 Dated: April 28, 2017                 Respectfully submitted,
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